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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
________________________________________
                                         )
INA STEINER, DAVID STEINER, and          )
STEINER ASSOCIATES, LLC,                 )
                                         )
                    Plaintiffs,          )    Civil Action
                                         )    21-cv-11181-PBS
v.                                       )
                                         )
EBAY, INC., et al.,                      )
                                         )
                    Defendants.          )
______________________________           )

                        MEMORANDUM AND ORDER

                            November 1, 2024

Saris, D.J.

                             INTRODUCTION

     In this extraordinary and troubling case, eBay, an e-commerce

company, conducted a campaign to silence Ina and David Steiner, a

married   couple   living     in   Natick,     Massachusetts,     through

harassment, stalking, and threats. The Steiners own and operate a

trade publication that published critical coverage of eBay. In

response, as alleged, eBay’s top executives and employees made

online threats, signed the Steiners up for over fifty unwanted

email subscriptions, and sent disturbing packages to their home,

including fly larvae, spiders, a bloody pig mask, and a funeral

wreath. The planning for this illegal campaign originated in

California, where much of the online activity also took place, but

other actions, like the surveillance and vandalism of the Steiners’

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home, occurred in Massachusetts. As a result of the harassment

campaign,   seven   individuals    involved    in   the   conspiracy   were

criminally charged and have since pleaded guilty. The Steiners

filed this civil suit against multiple defendants, including eBay.

Now, both eBay and the Steiners have moved for partial summary

judgment on the issue of whether Massachusetts or California law

will govern the question of punitive damages.

     After oral argument and review of the briefing, the Court

ALLOWS IN PART AND DENIES IN PART Defendant eBay’s Partial Motion

for Summary Judgment as to Punitive Damages (Dkt. 431) and ALLOWS

IN PART AND DENIES IN PART Plaintiffs’ Motion for Partial Summary

Judgment (Dkt. 430).

                         FACTUAL BACKGROUND

     The Court assumes familiarity with the facts of this case and

the Court’s Memorandum and Order on the Defendants’ motions to

dismiss dated December 12, 2023 (Dkt. 309). Except where stated

otherwise, the following is an abbreviated summary of the facts as

described in the First Amended Complaint (Dkt. 176).1

     For over two decades, Ina and David Steiner have owned and

operated    EcommerceBytes,   an   online     publication   reporting    on

e-commerce companies such as eBay. Beginning around January 2019,




1 For the limited purpose of these motions, eBay has not disputed
the following facts, arguing instead that punitive damages “are
unavailable as a matter of undisputed fact or law.” Dkt. 432 at 4.
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executives at eBay grew increasingly concerned about the Steiners’

critical coverage of eBay. eBay’s former Chief Executive Officer,

Devin    Wenig,     exchanged    messages           with    the   former    Senior     Vice

President     and     Chief     Communications              Officer,      Steven     Wymer,

communicating his desire to “crush” Ina Steiner. Dkt. 176 ¶ 61. In

multiple messages, Wenig directed Wymer to “take her down.” Id.

¶¶ 66, 82. Wymer then told eBay’s former Senior Director of Safety

& Security, Jim Baugh, that he “want[ed] [Ina Steiner] DONE” and

that Ina Steiner needed to “get BURNED DOWN.” Id. ¶ 85. eBay’s

former Senior Vice President of Global Operations, Wendy Jones,

directed Baugh to deal with the Steiners “off the radar since comms

and legal couldn’t handle it.” Dkt. 176 ¶ 65.

     What began as a series of concerned communications grew into

a “coordinated effort to intimidate, threaten to kill, torture,

terrorize, stalk and silence the Steiners, in order to stifle their

reporting     on    eBay.”    Dkt.    176       ¶    1.     The   harassment       campaign

originated in California. A windowless room on eBay’s campus served

as the “security nerve center where Baugh and his co-conspirators

planned    their     harassment      campaign.”            Dkt.   430-1    at   11.2   From

California,        eBay’s     executives            and      employees      brainstormed




2 The Steiners quote Defendant Wymer’s position in a joint letter
submitted by Defendants Wymer and eBay to the Magistrate Judge in
anticipation of a discovery conference. eBay does not dispute
Wymer’s description in the original letter or in the briefing on
the motions for partial summary judgment. See Dkts. 404, 432.
                                            3
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threatening items they could send to the Steiners and began posting

threatening content online. Examples of the actions taken by the

security team online during their harassment of the Steiners

include sending a series of anonymous tweets and Twitter direct

messages to the Steiners that were vulgar and threatening; signing

up the Steiners for over 53 email subscriptions;                   ordering a

preserved pig fetus, fly larvae, live spiders, cockroaches, a

Halloween mask of a bloody pig face, a funeral wreath, and a book

entitled Grief Diaries: Surviving Loss of a Spouse to be delivered

to   the   Steiners;   sending    pornographic   magazines    to    Steiners’

neighbors, with David Steiner’s name on the mailing label; and

posting    a   Craigslist    advertisement    falsely    identifying      the

Steiners as a married couple seeking sexual partners and providing

the Steiners’ home address.

       In addition to their actions online, members of the security

team   took    multiple   trips   to   Massachusetts    to   vandalize    the

Steiners’ property by spray painting an intimidating message on

their fence; surveilling, tailing, and stalking the Steiners by

vehicle and on foot; and attempting to install a GPS tracking

system on the Steiners’ vehicle.

       After the Natick Police Department began investigating, eBay

employees took steps from their base in California to cover up

their actions, such as creating false documents featuring the



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Steiners as eBay “Persons of Interest” to suggest that the Steiners

had a history of threats against eBay and its executive management.

                         PROCEDURAL HISTORY

     The Steiners sued eleven named defendants, including eBay, in

this civil suit on July 21, 2021. Dkt. 1. On March 1, 2023, the

Steiners   filed   an    amended    complaint    adding    new    factual

allegations, new causes of action, and additional defendants. In

the amended complaint, the Steiners sought punitive damages solely

in connection with their California stalking claim. In this Court’s

Order on eBay’s and other defendants’ motions to dismiss, this

Court dismissed the stalking claim, finding that Massachusetts

law, which does not have a stalking statute granting a private

right of action, should apply, as the injuries and most of the

relevant stalking conduct occurred in Massachusetts. Eleven claims

remain against eBay. Following a change in counsel in May 2024,

the Steiners altered their position and now assert that California

law should govern the availability of punitive damages for six of

their remaining claims against eBay.3

                            LEGAL STANDARD




3  Intentional Infliction of Emotional Distress (Count I);
Massachusetts Civil Rights Act Violation (Count IX); Defamation
(Count X); Trespass (Count XI); False Imprisonment (Count XII);
and Civil Conspiracy (Count XIII). Although the Steiners initially
sought punitive damages in connection with Ratification (Count
XIV), they have not demonstrated that ratification constitutes an
independent tort rather than a theory of liability.
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     Summary judgment is appropriate when there is “no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A genuine

dispute exists where the evidence “is such that a reasonable jury

could resolve the point in the favor of the non-moving party.”

Rivera-Rivera v. Medina & Medina, Inc., 898 F.3d 77, 87 (1st Cir.

2018) (quoting Cherkaoui v. City of Quincy, 877 F.3d 14, 23-24

(1st Cir. 2017)). A material fact has the “potential of changing

a case’s outcome.” Doe v. Trs. of Bos. Coll., 892 F.3d 67, 79 (1st

Cir. 2018).

     “The court must view the facts in the light most favorable to

the non-moving party and draw all reasonable inferences in [its]

favor.” Carlson v. Univ. of New Eng., 899 F.3d 36, 43 (1st Cir.

2018). When parties cross-move for summary judgment, courts must

evaluate each motion “separately, drawing inferences against each

movant in turn.” Lawless v. Steward Health Care Sys., LLC, 894

F.3d 9, 21 (1st Cir. 2018) (quoting EEOC v. S.S. Clerks Union,

Local 1066, 48 F.3d 594, 603 n.8 (1st Cir. 1995)).

                              DISCUSSION

     The parties agree that Massachusetts law governs questions of

liability and compensatory damages but disagree on whether this

Court should apply Massachusetts or California law to the issue of

punitive damages for six of the Steiners’ remaining claims against

eBay. The parties and the Court also agree that California and

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Massachusetts law conflict: punitive damages are available under

California law but not under Massachusetts law for the relevant

causes of action. Compare Pine v. Rust, 535 N.E.2d 1247, 1249

(Mass. 1989) (“Punitive damages are not favored in Massachusetts,

and we have long followed the principle that, absent statutory

authorization,       punitive     damages     may   not   be   awarded.”),    with

Haigler v. Donnelly, 117 P.2d 331, 335 (Cal. 1941) (“If . . . the

action is one in tort, exemplary damages may be recovered upon a

proper     showing      of     malice,    fraud     or    oppression . . . .”).

Therefore, the Court must determine which state’s law applies.

I.   Massachusetts’ Conflict of Law Rules

     In an action based on diversity jurisdiction, this Court must

apply the conflict of law rules of the forum state. Klaxon Co. v.

Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941); Putnam Res. v.

Pateman, 958 F.2d 448, 464 (1st Cir. 1992). Massachusetts courts

employ a “functional choice of law approach.” Reicher v. Berkshire

Life Ins. Co. of Am., 360 F.3d 1, 5 (1st Cir. 2004) (quoting

Bushkin Assocs., Inc. v. Raytheon Co., 473 N.E.2d 662, 668 (Mass.

1985)); see also Alharbi v. TheBlaze, Inc., 199 F. Supp. 3d 334,

360 (D. Mass. 2016) (involving a defamation claim). “Under the

functional approach, the forum applies the substantive law of the

state    which    has    the    more     significant      relationship   to   the

transaction in litigation.” Hendricks & Assocs., Inc. v. Daewoo

Corp., 923 F.2d 209, 212 n.3 (1st Cir. 1991).

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       To    determine     which     state   has     the   more    significant

relationship       to   the   transaction,     Massachusetts      courts    rely

primarily on the Restatement (Second) of Conflict of Laws. Lou v.

Otis Elevator Co., 933 N.E.2d 140, 150 (Mass. App. Ct. 2010). For

a tort claim, the Restatement provides the following factors:

(1) where the injury occurred, (2) where the conduct causing the

injury occurred, (3) where the parties are domiciled, reside,

incorporated, or maintain their place of business, and (4) where

the    relationship,     if   any,   between   the    parties     is   centered.

Restatement (Second) of Conflict of Laws § 145 (Am. L. Inst. 1971);

see also Cornwell Ent., Inc. v. Anchin, Block & Anchin, LLP, 830

F.3d 18, 34 (1st Cir. 2016). Courts examine these contacts in light

of the interests of the “States involved, and the interstate system

as a whole.” Dean ex rel. Est. of Dean v. Raytheon Corp., 399 F.

Supp. 2d 27, 31 (D. Mass. 2005) (quoting Bushkin Assocs., 473

N.E.2d at 668); see also Restatement (Second) of Conflict of Laws

§ 6. 4




4   Restatement (Second) of Conflict of Laws § 6 provides that:

       [T]he factors relevant to the choice of the applicable
       rule of law include (a) the needs of the interstate and
       international systems, (b) the relevant policies of the
       forum, (c) the relevant policies of other interested
       states and the relative interests of those states in the
       determination of the particular issue, (d) the
       protection of justified expectations, (e) the basic
       policies underlying the particular field of law, (f)
       certainty, predictability and uniformity of result, and
                                        8
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     Courts consider the contacts from the Restatement according

to their relative importance in the “resolution of the particular

issue presented.” Pevoski v. Pevoski, 358 N.E.2d 416, 417 (Mass.

1976) (“[T]here is no reason why all issues arising out of a tort

claim must be resolved by reference to the law of the same

jurisdiction. . . . [T]he      disposition      of . . . issues        must

turn . . . on the law of the jurisdiction which has the strongest

interest in the resolution of the particular issue presented.”

(first alteration in original) (quoting Babcock v. Jackson, 191

N.E.2d 279, 285 (N.Y. 1963))); see also La Plante v. Am. Honda

Motor Co., 27 F.3d 731, 741 (1st Cir. 1994) (“Under the doctrine

of depecage, different substantive issues in a tort case may be

resolved under the laws of different states where the choices

influencing decisions differ.”); Schulhof v. Ne. Cellulose, Inc.,

545 F. Supp. 1200, 1203 (D. Mass. 1982) (“Pevoski ruled that the

law of a single jurisdiction would not necessarily govern all

issues in a case.”).

     Accordingly, the Court must decide which state has the most

significant   relationship    to   “each     punitive   damage    claim.”

Freeman v. World Airways, Inc., 596 F. Supp. 841, 843 (D. Mass.

1984) (relying on Restatement (Second) of Conflict of Laws § 146).

Typically in the case of personal injury claims, “the local law of



     (g) ease in the determination and application of the law
     to be applied.
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the state where the injury occurred determines the rights and

liabilities of the parties.” Restatement (Second) of Conflict of

Laws § 146. But the general presumption may be rebutted if “with

respect to the particular issue, some other state has a more

significant relationship.” Id.; see also Pevoski, 358 N.E.2d at

417.

II.    Applying   Massachusetts’     Functional     Approach     to   Punitive
       Damages

       In the context of punitive damages, “[m]any courts have held

that the state of the injury and of the alleged wrongful conduct

has a more significant relationship to the issue of punitive

damages than does the state of plaintiff’s domicile.” Dean, 399 F.

Supp. 2d at 33. This is because, as the Restatement suggests, if

the purpose of the law “is to punish the tortfeasor and thus to

deter others from following his example, there is better reason to

say that the state where the conduct occurred is the state of

dominant interest.” Restatement (Second) of Conflict of Laws § 146

cmt. e; see Burleigh v. Alfa Laval, Inc., 313 F. Supp. 3d 343, 356

(D. Mass. 2018); see also Freeman, 596 F. Supp. at 846 (“The

primary purposes underlying a state’s decision to allow punitive

damages are to punish the defendant and to deter others from

following    similar    conduct.   Such   damages    are   not    awarded   to

compensate the plaintiff.” (citation omitted)).




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     It is necessary to identify the state where the relevant

events   and    conduct   took    place     tort-by-tort.     The     significant

contacts    and    conduct   took     place    either    in    California      or

Massachusetts. The Steiners argue that all the wrongful conduct

emanated from California, where eBay maintains its principal place

of business and the defendants made key decisions regarding the

harassment. Dkt. 430-1 at 9. Conversely, eBay asserts that a

substantial amount of the conduct that caused injury occurred in

Massachusetts -- where the surveillance, stalking, and physical

activities were carried out -- making Massachusetts the more

appropriate jurisdiction for punitive damages. Dkt. 437 at 10-13.

Rather than paint with broad strokes, the Court examines whether

Massachusetts or California law applies to each claim. See Freeman,

596 F. Supp. at 843.

     The Steiners’ claims of trespass, false imprisonment, and

Massachusetts Civil Rights Act violations are rooted in actions

taken in Massachusetts, chiefly the physical surveillance and

vandalism that exacerbated their fear for personal safety. The

defendants traveled to Natick, Massachusetts, to vandalize the

Steiners’      fence,   install   a   GPS    tracker    on    their    car,   and

“predatorily stalk and surveil” them. Dkt. 176 ¶¶ 73, 148, 155. In

addition to these actions, the Steiners claim the “incessant

packages” that arrived at their home in Massachusetts forced them

to remain confined to their home and threatened to silence their

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blog. Id. ¶ 534. In short, the most distressing conduct underlying

the claims of trespass, false imprisonment, and Massachusetts

Civil Rights Act violations occurred in Massachusetts.

     The torts of intentional infliction of emotional distress and

civil conspiracy present a closer question. The Steiners’ distress

stems not only from the conduct described above -- being followed,

surveilled, stalked, and tailed -- but also from a broader range

of   concerted,     online    conduct.     The   defendants   bombarded    the

Steiners with online threats, menacing deliveries, doxing, and

unwanted email subscriptions. Dkt. 176 ¶ 408. The defendants’

online activity, including the online threats and ordering of

threatening packages, originated from eBay’s place of business in

California. California is also the state where the defendants

originally formed their plans to “intimidate, threaten to kill,

torture, terrorize, stalk and silence” the Steiners. Id. ¶ 1.

eBay’s California campus allegedly served as the “security nerve

center” where Baugh and his co-conspirators orchestrated their

harassment campaign. Dkt. 430-1 at 11. From there, the defendants

made plans to travel from California to Massachusetts, ordered

threatening packages, subscribed the Steiners to unwanted emails,

sent online threats, and, once law enforcement became involved,

undertook efforts to cover up the investigation. See Dkt. 430-1 at

9-11.



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      As a result, with respect to the claims for trespass, false

imprisonment,      and    Massachusetts        Civil     Rights      Act   violations,

Massachusetts contacts “predominate, as that state is the place of

injury, the place of much of the relevant conduct, and the place

where the relationship between [eBay] and the [Steiners] . . . is

centered.” Church of Scientology of Cal. v. Flynn, 578 F. Supp.

266, 267 (D. Mass. 1984). However, with respect to the intentional

infliction of emotional distress and civil conspiracy claims,

California’s countervailing interest in deterring such malicious

and extreme conduct by its corporate domiciles prevails since the

most significant of the unlawful conduct took place within its

borders. Consequently, for these claims, the Steiners in this case

rebut the general presumption that the law of the state where the

injury occurs governs.

      In   arguing       that    Massachusetts      law    restricting        punitive

damages should apply, eBay relies heavily on Computer Systems

Engineering, Inc. v. Qantel Corp., 571 F. Supp. 1365 (D. Mass.

1983), aff’d, 740 F.2d 59 (1st Cir. 1984). In Computer Systems,

the   District     Court    declined      to     apply    Massachusetts       law   to

compensatory      damages       and   California   law     to    punitive     damages,

stating    that      “[b]ifurcating        the     issues       of     punitive     and

compensatory damages in this manner would discriminate against a

class of nonresident defendants, and upset the legislative balance

achieved    by    Massachusetts        precedents        and    statutes    regarding

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punitive damages.” Id. at 1370. The District Court further reasoned

that “Massachusetts has a significant interest in the uniformity

and predictability of its law.” Id. The First Circuit affirmed but

added that “though the Supreme Judicial Court of Massachusetts

ha[d] not yet explicitly adopted the position of the Restatement

(Second) of Conflict of Laws on tort claims, a Massachusetts court

would apply a test not materially different from that of the

Restatement (Second) of Conflict of Laws § 148 in determining the

law applicable in this case.” Computer Sys. Eng’g, Inc., 740 F.2d

at 70.

       Significantly, Computer Systems involved claims of fraud and

misrepresentation governed by § 148 of the Restatement, id. at

1368, not § 146, which applies to actions for personal injuries.

In addition, the First Circuit has explained that choice of law

considerations such as predictability and uniformity of result

“are    geared     more   toward   consensual   relationships    than     tort

situations.” Mason v. S. New Eng. Conf. Ass’n of Seventh-Day

Adventists of the Town of S. Lancaster, 696 F.2d 135, 137 (1st

Cir. 1982) (citing Restatement (Second) of Conflict of Laws § 6

cmts. d, g, i). As a result, the First Circuit cautioned courts

against using factors such as predictability to grant the interest

of a forum state greater weight in tort actions “simply because of

its status as the forum.” Id. at 138. Accordingly, given that the

conspiracy    to    harass,   intimidate,   and   threaten   the   Steiners

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originated     in     California        and       a   substantial     amount    of    the

distressing conduct occurred there as well, California’s interest

in applying punitive damages to conduct that occurred within its

borders by one of its resident corporations outweighs any interest

Massachusetts       might    have       in    protecting       eBay   “from    excessive

liability” for actions taken in California. Freeman, 596 F. Supp.

at 846; Schulhof, 545 F. Supp. at 1206.

      Finally,      during       oral   argument,        the   Steiners   singled      out

defamation as especially related to California. They point out

that in addition to the general principles guiding Massachusetts’

choice of law approach, defamation is subject to § 150 of the

Restatement (Second) of Conflict of Laws. See Alharbi, 199 F. Supp.

3d at 361. Though the Steiners correctly point out that § 150

applies, their conclusion that California has the most significant

relationship to the defamation claim is incorrect -- § 150 dictates

that Massachusetts law applies.

      Under § 150, “[w]hen a natural person claims that he has been

defamed   by     an    aggregate        communication,          the   state    of     most

significant relationship will usually be the state where the person

was   domiciled       at   the    time,      if    the   matter   complained     of    was

published in that state.” Restatement (Second) of Conflict of Laws

§ 150(2); see Green v. Cosby, 138 F. Supp. 3d 114, 124 (D. Mass.

2015) (“Pursuant to section 150 of the Restatement (Second) of

Conflict of Laws, ‘the law of the state where the defamed person

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was domiciled at the time of publication applies “if the matter

complained of was published in that state.”’” (quoting Davidson v.

Cao, 211 F. Supp. 2d 264, 274 (D. Mass. 2002))). A comment to § 150

emphasizes that when a defamatory statement has been published in

two or more states, the focus of the inquiry is where the plaintiff

suffered the greatest harm:

      Rules of defamation are designed to protect a person’s
      interest in his reputation. When there has been
      publication in two or more states of an aggregate
      communication claimed to be defamatory, at least most
      issues involving the tort should be determined . . . by
      the local law of the state where the plaintiff has
      suffered the greatest injury by reason of his loss of
      reputation. This will usually be the state of the
      plaintiff’s domicil if the matter complained of has
      there been published.

Restatement (Second) of Conflict of Laws § 150 cmt. e.

      Here, the Steiners allege that the defendants defamed them by

sending sexually charged pornography to their neighbors, making

defamatory comments to third parties, posting ads on Craigslist

that the Steiners were sexual swingers and inviting potential

partners to their home, tweeting false statements, and creating

fake “Persons of Interest” files on the Steiners. Dkt. 176 ¶¶ 504-

10.

      Statements   posted    online    have   “a   greater   potential   to

spread,” Butcher v. Univ. of Mass., 136 N.E.3d 719, 735 n.22 (Mass.

2019), and here, the postings meant to solicit strangers to the

Steiners’ home were directed at Massachusetts. Further, defamatory


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mail was sent to the Steiners’ neighbors, also in Massachusetts.

Because the mail was sent to persons in Massachusetts and not to

persons   in   California,     the   pornographic       magazines   in     David

Steiner’s name were published only in Massachusetts. See Kamelgard

v.   Macura,   585   F.3d   334,   342    (7th   Cir.   2009)   (holding   that

defamatory letters are published in the state to which they are

sent); see also Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1104 (9th

Cir. 2009) (explaining that publication for defamation “simply

means” communication to someone other than the plaintiff). Though

“Persons of Interest” files were kept in California and the tweets

were published nationally, the “Persons of Interest” files were

shared with the Natick Police Department. Further, the Steiners

failed to discuss the location of their reputational harm in their

briefing and did not allege that they “suffered greater special

damages in [California] than in the state of [their] domicil,”

Massachusetts. Restatement (Second) of Conflict of Laws § 150 cmt.

e. Consequently, § 150 dictates that Massachusetts law apply to

the issue of punitive damages for the defamation claim.

                                     ORDER

      For the foregoing reasons, the Court ALLOWS IN PART AND DENIES

IN PART Defendant eBay’s Partial Motion for Summary Judgment as to

Punitive Damages (Dkt. 431) and ALLOWS IN PART AND DENIES IN PART

Plaintiffs’ Motion for Partial Summary Judgment (Dkt. 430).



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SO ORDERED.
                                        /s/ PATTI B. SARIS__________
                                        Hon. Patti B. Saris
                                        United States District Judge




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